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Exhibit 8
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SERIAL NO. 72,
SERVED
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS RECEIVED
FILED |

‘ Docket No. 01-12257-pps

In re: Pharmaceutical .
Industry Wholesale Price .
Litigation .

TRANSCRIPT OF HEARING
BEFORE THE HONORABLE MARIANNE B. BOWLER |
UNITED STATES MAGISTRATE JUDGE
HELD ON JANUARY 27, 2005

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THE CLERK: ‘Today is Thursday, January 27, 2005. The
case of Citizens for Consumer Justice, et al v. Private .
Laboratories, et al, Criminal Action No. 01~12257 will now be
heard before this Court. Will counsel please identify
themselves for the record?

MR. MANGI: Your Honor, Adil Mangi from Patterson,
Belknap, Webb & Tyler for defendants. I'11 be arguing the
motion to compel Health Net.

THE COURT: ‘Thank you.

MS. CICALA: Good morning, your Honor. Joanne Cicala
from Kirby McInerny & Squire, for Plaintiff, the County of
Suffolk, here on the discovery motion,

MR. McGINTY: Good morning, your Honor. Kevin
McGinty from Mintz Levin for Health Net, respondent to the
motion to compel.

MR. SELFRIDGE: Good morning, your Honor. Lance
Selfridge from Lewis Brisbois Bisgard & Smith in Los Angeles
also here on behalf of Health Net. I understand that
Mr. McGinty has a motion for pro hac vice admission for me.

THE COURT: Okay. And that motion will be allowed.

MR. SELFRIDGB: ‘Thank you, your Honor.

THE COURT: Has it been filed or are you just--

MR. McGINTY: I have it here, your Honor, with the

filing fee as well.

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THE COURT: Okay. Oh, we always want the money.

MR. McGINTY: Yes. Tf've learned from said experience

‘so, I will hand it up now.

THE COURT: All right, that's fine.

MR. SELVICH: Thank you, your Honor,

THE COURT: You’re welcome.

MR.. CHRISTOFFERSON: Good morning, your Honor. Bfié
Christofferson fr¥om Ropes & Gray, on behalf of Schering-Plough
Corporation.

THE COURT: Thank you, very much.

MR. NOTARGIACOMO: Good morning, your Honor. Edward
Notargiacomo from Hagens, Berman on behalf of the Class MDI
plaintiffs. I don't have any particular motion: In just here
in case there are questions that need to be answered.

THE COURT: Mr, DeMarco, do you want to be notéd on-~
the record.

MR.. DeMARCO: And, your Honor, I am’Michael DeMarco
as you know, and I'm here with my colleague Jim Muehlberger.

MR. MUEHLBERGER: Good morning, your Honor.

THE COURT: Good morning...

MR. DeMARCO: I'm with Kirckpatrick & Lockhart,
Nicholson Graham. And Jim is with Shook, Hardy & Bacon from
Kansas City and he represents Aventis, an interested party, the

defendant in the class action.

THE COURT: All right... Well, we'll take the two, the

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motions in the order in which they were filed. So the first
is docket entry number 1175, which is defendants’ motion to
compel third party Health Net to produce with opposition,

MR. MANGI: Thank you, your Honor. As your Honor is
aware, Judge Saris allowed the defendants to proceed with
discovery of a sample of health insurers in the industry.
Health Net is a key part of that industry sample. Primarily
because of their geographical reach, they operate on both
coasts, both coasts, but also because they have an internal PBF
which renders them particularly of interest to defendants.
This motion is before your Honor on two specific issues.

First of all, Health Net has produced about half a
box of documents. That came after about a year worth of
negotiation on the subpoena and the Scope of production. But
all of the documents that were produced were redacted. In
fact, they were redacted of all terms that would be useful to
defendants in this case. All reimbursement methodologies were
redacted. All dispensing fees or administration fees were
redacted. The same for financial terms, even the names of
contracting parties, ~ (inaudible #11:04:07) - were essentially
shell contracts, worthless paper or templates. That's the
first and the primary issue for this motion.

The second is there were certain very limited
documents that were identified by Health Net's witnesses at

depositions as being central to this case. We sought their

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production after the deposition, and again these were very

specific categories of documents, and Health Net has refused to
produce them without giving any reason for that refusal. Now,
on the issue of redactions, Health Net's only reason for not
producing these documents in their unredacted form, and again
it's half a box so far, is that they have confidential
information and Health Net's taken that position despite the
fact that their protective order is in Place. So what Health
Net is seeking here is unique status in this litigation. All

the other health plans that are part of the industry sample

-have produced their documents in unredacted form providing all

of this information, the methodology, the dispensing fees, and
so on, the defendants seek. Health Net claims that they should
be given unique status and allowed to keep their information
confidential and that the protective order is not sufficient.
Now, I will point out that Judge Saris in CMO 10
already made a ruling on the issue of redaction and said in
that order, which is appended to our the papers, the redaction
should only be allowed on the grounds of privilege. Now, that
order was by its terms addressed to parties, but the logic is
equally applicable here, given that the Same protective orders
protect the interest of third parties as parties. Now, Health
Net in their papers have made a lot of human cry about the
relevance of these methodologies. We've discussed that with

them on numerous occasions. We've even sent them letters, many

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letters, expressing why the information is relevant, but I'1l
address it here very briefly by giving just a few examples. As
your Honor is aware, the plaintiff's in the MDL, are now
focused on a theory performed by the expert Dr. Hartman which
pertains to the expectations of pairs alleging a common
expectation of cost classes of trade. The only way the
defendants can test that theory is by reference to the
methodologies that are actually being used. If they're
different methodologies, different classes of trade or even
different entities within classes of trade, defeats those
common expectations. Similarly, another issue that's going to
be critical to the merits is the defendant's position that
these contracts have to be looked at on an overall basis. You
have to look at the bundle of services that are being provided
and the bundle of payments that's being given. You can't
compare the bundle if you don't know what the terms are. You
can't compare methodology and dispensing fee and see their
interrelationship of all the terms, if you don't know what any
of those terms are. And there are numerous other factors that
show the relevance of this. As your Honor's aware, we've put
in experts' submissions that have scattered thoughts showing
different reimbursements for different drugs. Health Net has
testified about different methodologies they use. Fee
schedules, for example, you can only assess them if you know

what they're based on. So that information is simply central

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to our claims.

Now, the only law that Health Net has cited for their
position which we consider unique is the Vitamins case from the
Southern District of Ohio, but as we point out in our reply
papers that that case has no application here. The court there
expressed concern over confidentiality, but that was because
the party there that -was seeking the discovery was a direct
competitor of the party that was making production. Here,
there is no such relationship between the defendant
manufacturers and Health Net. Moreover, the issue of
confidentiality was not dispositive in the Vitamins case. The
court expressly said so, and in fact, invited the party to
reserve the subpoena. They didn't rule on the subpoena in
Vitamins because it was premature. There were motions to
dismiss pending. The court said if you win the motion to
dismiss, the issue goes away, so let's wait and see what
happens there. So again, they're seeking entirely unique
Status here.

Secondly, that issue of redactions also feeds into
claims data. We’ve sought claims data from Health Net as we
had from numerous insurers. We've already used a lot of that
claims data, and with all health insurers, we've offered to pay
for it. Health Net here raises a few additional arguments
which we submit are just red herrings. They raise the HIPA

Statute. There is a precise HIPA regulation on point that

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allows disclosure where there's a subpoena and a HIPA
compliant protective order in’ place. The defendant's haven't
even stood on that. We've said okay, you can redact or rather
you can replace patient identifying information with dummy
numbers as long as they're consistent SO we can carry out our
analysis. So we don't care what the names of the individual
patients are. We just want to be able to relate them to the
claims so we can study what was paid in relation to specific-~

THE COURT: What's wrong with doing that, counsel?

MR. McGINTY: In fact, your Honor, if it is possible
to run some kind of algorithm as they suggest that would
scramble the patient identifiable information, I expect that
it’s probably not going to be a problem. As counsel indicated,
the problem really comes with. embedded in claims data is the
confidential business information concerning dollar value of
reimbursement terms.

THE COURT: Okay, so the--

MR. MANGI: Your Honor, the only thing I'11 add on
claims data is that Health Net, in two letters that are before
your Honor have already agreed that the scrambled algorithm
which we've used with other insurers already and it works fine,
will satisfy all of their patient confidentiality concerns, so
that issue we submit is straightforward.

Now, the other aspect of this motion pertains to

documents identified at deposition. After the depositions, we

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Sent a letter to Health Net on October 15, 2004 identifying

the specific documents that the witnesses talked about. These
again are very specific. Some of them are as a simple as
missing pages with bates numbers to be provided. Somehow, they
dropped out of the production. Please give them to us, have
nothing in response despite numerous letters. Some of them are
Slightly more substantive. For example, in narrowing our
production, and as I mentioned, Health Net's only produced half
a box because we narrowed it so extensively. We only sought
representative Samples of contracts rather than all contracts.
We told Health Net that we would test the representative nature
of the sample at depositions in relation to, for example, the
retail pharmacy contracts between Health Net or the internal
PBM and the pharmacies. Health Net gave us one 2004 template
contending it was reprasentative of all their contracts since
1991. Other health plans, some have produced five, some have
produced five boxes. One is rarely going to do. We asked the
witness at deposition is this representative? He said, no,
it's not. Now, their contracts are again very specific.
There's a mail order contract that was referenced. We asked for
it. They mentioned the production of documents in a related
‘AWP litigation, already produced. We asked for those.

THE COURT: Just one second. Mr. Keefe, did you lose
something?

MR. KEEFE: I think I misplaced a hat somewhere, your

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Honor.
THE COURT: What's it look like?
MR. KEEFE: It's just a black hat.
THE COURT: If we find it, we'll know who it belongs
to.

MR. KEEFE: Your Honor, in my condition, I need it.
It must be out in the hall. ‘Thank you, Judge.

MR. MANGI: So as I was saying your Honor, these are
very specific documents that we've asked for. There's no
burden issue, but yet, Health Net has refused to produce them
and has provided no reason for their refusal to do 50. They're
specific additional issues raised in Health Net's papers but
I'll address them if counsel raises them today.

Thank you, your Honor.

THE COURT: All right. Your brother makes it sound
very simple.

MR. McGINTY: It always is at first look. One thing
that counsel for the defendants I think has omitted to discuss
is the significant threshold issue about whether this Court
even has jurisdiction over this particular subpoena. As noted
in the papers, admitted by the defendants, there is a conflict
between various courts as to the scope of 28 U.S.C. Section
1407 and whether or not that empowers this court as the
transferee court in an MBL proceeding to consider manners’

concerning the enforcement of a subpoena under Rule 45. It's

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